                  Case 23-10699-CTG           Doc 53-1       Filed 07/28/23        Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 11

    AGSPRING, LLC, et al.,1                               Case No. 23-bk-10699 (CTG)

                                                          Jointly Administered
              Debtors.

                                                          Objection Deadline: August 11, 2023 at 4:00 p.m. (ET)
                                                              Hearing Date: August 18, 2023 at 10:00 a.m. (ET)

         NOTICE OF APPLICATION PURSUANT TO SECTION 327(a) OF THE
     BANKRUPTCY CODE, RULE 2014 OF THE FEDERAL RULES OF BANKRUPTCY
      PROCEDURE AND LOCAL RULE 2014-1 FOR AUTHORIZATION TO EMPLOY
        AND RETAIN DENTONS US LLP AS COUNSEL FOR THE DEBTORS AND
         DEBTORS IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

             PLEASE TAKE NOTICE that on July 28, 2023, the above-captioned debtors and debtors

in possession (collectively, the “Debtors”), filed the Application Pursuant to Section 327(a) of the

Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule 2014-

1 for Authorization to Employ and Retain Dentons US LLP as Counsel for the Debtors and Debtors

in Possession Effective as of the Petition Date (the “Application”) with the United States

Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor, Wilmington,

Delaware 19801 (the “Bankruptcy Court”). A copy of the Application is attached hereto.

             PLEASE TAKE FURTHER NOTICE that any response or objection to the entry of an

order with respect to the relief sought in the Application must be filed with the Bankruptcy Court

on or before August 11, 2023 at 4:00 p.m. prevailing Eastern Time.

             PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response or objection upon: (i) the Debtors, c/o of Meru LLC 1372 Peachtree Road NE,


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
US_ACTIVE\124002400\V-4
              Case 23-10699-CTG         Doc 53-1     Filed 07/28/23     Page 2 of 3




Atlanta, GA 30309, Attn: Kyle Sturgeon (Kyle@wearemeru.com); (ii) proposed counsel for the

Debtors, Dentons US LLP, 601 S. Figueroa , Suite 2500, Los Angeles, CA 90017, Attn: Samuel R.

Maizel (Samuel.maizel@dentons.com), and Pachulski Stang Ziehl & Jones LLP, 919 North Market

Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801), Attn: Laura Davis

Jones (ljones@pszjlaw.com); (iii) counsel to the Debtors’ prepetition secured lenders, and (iv) the

Office of The United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE

19801, Attn: David L. Buchbinder (david.l.buchbinder@usdoj.gov).

        PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

        PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE

RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON AUGUST 18, 2023 AT 10:00

A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE JUDGE CRAIG T

GOLDBLATT, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED

STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET

STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.

Dated: July 28, 2023                        PACHULSKI STANG ZIEHL & JONES LLP


                                            /s/ Laura Davis Jones
                                            Laura Davis Jones (DE Bar No. 2436)
                                            919 North Market Street, 17th Floor
                                            P.O. Box 8705
                                            Wilmington, Delaware 19899 (Courier 19801)
                                            Telephone: (302) 652-4100
                                            Facsimile: (302) 652-4400
                                            Email: ljones@pszjlaw.com

                                            -and –


                                                2
US_ACTIVE\124002400\V-4
              Case 23-10699-CTG   Doc 53-1   Filed 07/28/23   Page 3 of 3




                                     DENTONS US LLP
                                     Samuel R. Maizel
                                     Tania M. Moyron
                                     Malka S. Zeefe
                                     601 S. Figueroa Street #2500
                                     Los Angeles, CA 90017
                                     Telephone: (213) 623-9300
                                     Email: samuel.maizel@dentons.com
                                             tania.moyron@dentons.com
                                             malka.zeefe@dentons.com

                                     -and-

                                     DENTONS US LLP

                                     David F. Cook (Bar Number 006352)
                                     1900 K Street, NW
                                     Washington, DC 20006
                                     Telephone: (202) 496-7500
                                     Email: david.f.cook@dentons.com

                                     Proposed Counsel for Debtors and Debtors in
                                     Possession




                                        3
US_ACTIVE\124002400\V-4
